             Case 2:21-cv-00811-TSZ Document 27-1 Filed 12/20/21 Page 1 of 3




 1                                                      THE HONORABLE THOMAS S. ZILLY

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                             UNITED STATES DISTRICT COURT
 5                     FOR THE WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
     BUNGIE, INC., a Delaware corporation,
 8                                                         Cause No. 2:21-cv-811 TSZ
 9
                                                           [PROPOSED] ORDER
10                              Plaintiff,                 GRANTING DEFENDANTS’
                                                           MOTION TO EXTEND TIME
11                    v.                                   TO RESPOND TO
12   AIMJUNKIES.COM, a business ofunknown                  COMPLAINT
     classification; PHOENIX DIGITAL GROUP
13   LLC, an Arizonalimited liability company;    Note on Motion Calendar:
     JEFFREY CONWAY, an individual; DAVID         December 20, 2021
14
     SCHAEFER, an individual; JORDAN GREEN,
15   an individual; and JAMES MAY, an individual,
16                              Defendants.

17
             This Court, having received and reviewed the Unopposed Motion To Extend Time To
18
     Respond To Complaint filed by Defendants, it is HEREBY ORDERED that the time for
19   Defendants to answer or otherwise respond to the Complaint in this action is extended to and
20   including January 10, 2021.
21           Dated this __ day of December, 2021.
                                                  _______________________________
22
                                                  Hon. Thomas S. Zilly
23
24
     Presented by:
25   MANN LAW GROUP PLLC
26
     Attorneys for Defendants
27
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                                                                           MANN LAW GROUP PLLC
     PROPOSED ORDER                                                        403 Madison Ave. N. Ste. 240
                                              Page 1                       Seattle, WA 98110
     Cause No. 21-CV-0811-TSZ                                              Phone: 206.436.0900
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     By:
 2   /Philip P. Mann            __
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     Mann Law Group PLLC
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 5   Bainbridge Island, WA 98110
     (206) 436-0900
 6   phil@mannlawgroup.com

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 1                                   CERTIFICATE OF SERVICE
 2                 I hereby certify on the date indicated below, I electronically filed the foregoing
 3   with the Clerk of the Court using the CM/ECF system which will send notification of such
 4   filing to all parties who have appeared in this matter.
 5
 6   DATED: December 20, 2021                        /s/ Philip P. Mann

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                                                                              MANN LAW GROUP PLLC
     PROPOSED ORDER                                                           403 Madison Ave. N. Ste. 240
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